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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

  Civil Action No. 14-CV-02887-JLK


  ALEJANDRO MENOCAL, et al.,

         Plaintiffs,

  v.

  THE GEO GROUP, INC.,

         Defendant.


                       STIPULATED MOTION AND PROPOSED ORDER
                            TO EXTEND DISCOVERY CUT-OFF


         The parties, by and through their respective undersigned counsel, submit the following

  Stipulated Motion to Extend Discovery Cut-Off:

         1.      In the Court’s June 6, 2017, Order Granting in Part and Denying in Part The GEO

  Group, Inc.’s Motion to Stay Proceedings Pending Rule 23(f) Review (ECF No. 85) (the “Stay

  Order”), the Court stayed discovery on class action issues pending the Rule 23(f) appeal, but

  allowed discovery related to liability and merits issues to proceed in accordance with Rule 26.

         2.      In the Court’s Scheduling and Discovery Order dated July 14, 2017 (ECF No.

  103), the discovery cut-off for the limited discovery allowed by the Court’s Stay Order is

  February 2, 2018.

         3.      During this limited discovery period, the parties have exchanged written

  discovery and conducted depositions.
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             4.   The parties are working cooperatively to schedule additional depositions,

  including taking one Plaintiff’s deposition in San Diego and another Plaintiff’s deposition in

  Mexico City.

             5.   Plaintiffs are working on sponsor affidavits to send to United States Citizenship

  and Immigration Services (“USCIS”) to secure waivers for certain Plaintiffs to enter the country

  for their depositions. To allow sufficient time for the USCIS waiver process, the parties have

  agreed that the discovery cut-off for the limited discovery permitted by the Court’s Stay Order

  should be extended to Friday, May 4, 2018. The parties submit this constitutes good cause to

  amend the Scheduling and Discovery Order. Therefore, the parties respectfully request that the

  Court extend the discovery cut-off in the Scheduling and Discovery Order from February 2,

  2018, to May 4, 2018.

             6.   Plaintiffs have also requested, and Defendant The GEO Group, Inc. (“GEO”) has

  agreed to, an extension of Plaintiffs’ deadline to respond to GEO’s Second Set of Written

  Discovery Requests to Plaintiffs from December 26, 2017 to January 19, 2018.

             7.   This stipulation is filed in advance of the current discovery cut-off, and is not

  being interposed for purposes of undue delay. No party will be prejudiced by the extension of

  the discovery cut-off. The parties have not previously requested an extension of the discovery

  cut-off.

             8.   In accordance with D.C.COLO.LCiv R 6.1(c), a copy of this stipulation is being

  contemporaneously provided to Plaintiffs and Defendant by their respective counsel.
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         WHEREFORE, the parties respectfully request that the Court amend the Scheduling and

  Discovery Order to provide that the discovery permitted by the Court’s Stay Order is extended to

  Friday, May 4, 2018.

  Dated: December 18, 2017



  By: /s/ Elizabeth V. Stork                       By: /s/ Dana Eismeier



  Elizabeth V. Stork                               Dana Eismeier

  OUTTEN & GOLDEN LLP                              BURNS, FIGA & WILL

  Attorneys for Plaintiffs                         Attorneys for Defendant



                                     [PROPOSED ORDER]

  PURSUANT TO STIPULATION, IT IS SO ORDERED:



  Dated: ______________________                              ___________________________

                                                             The Honorable John L. Kane

                                                             U.S. District Judge
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                                   CERTIFICATE OF SERVICE

         I hereby certify that on this 18th day of December, 2017, I electronically filed the
  foregoing STIPULATED MOTION TO EXTEND DISCOVERY CUT-OFF with the Clerk
  of Court using the CM/ECF system which will send notification of such filing to the following or
  deposited a copy of the filing in the United States mail, postage prepaid, addressed as follows:


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